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                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


         JOSHUA CLAY MCCOY, et al.,

                           Plaintiffs-Appellees,
                    v.
                                                                      No. 23-2085
         BUREAU OF ALCOHOL, TOBACCO,
         FIREARMS AND EXPLOSIVES, et al.,

                           Defendants-Appellants.


            MOTION TO CONSOLIDATE FOR PURPOSES OF ORAL
                            ARGUMENT

              Defendants-Appellants Bureau of Alcohol, Tobacco, Firearms and

        Explosives et al. respectfully move to consolidate this case with Brown

        v. ATF, No. 23-2275 for purposes of oral argument. The government

        will file a similar motion in Brown.

              1. These cases involve Second Amendment challenges to a

        longstanding federal law that prohibits federal firearms licensees from

        selling handguns to 18-to-20-year-olds. In McCoy, the district court

        held the federal law unconstitutional, certified a nationwide class of 18-

        to-20-year-olds, and entered declaratory and injunctive relief. In

        Brown, the district court held the federal law unconstitutional and
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        entered declaratory and injunctive relief. At the government’s request,

        both courts stayed all relief pending appeal.

              2. Consolidation for purposes of oral argument will conserve the

        Court’s and the parties’ resources and ensure consistent judgments in the

        two cases. As explained above, both cases involve Second Amendment

        challenges to the same federal law, and both cases therefore turn on similar

        arguments and authorities. Indeed, the district court in Brown relied

        heavily on the McCoy court’s decision. See Brown v. ATF, No. 1:22-cv-80,

        2023 WL 8361745, at *9, 13-14 (N.D. W.Va. Dec. 1, 2023). Given this

        overlap, no purpose would be served by assigning the cases to separate

        panels for purposes of oral argument or decision.

              3. The cases should not, however, be consolidated for purposes of

        briefing. Although the cases involve parallel merits issues, they also raise

        distinct remedial questions concerning the propriety of class certification in

        McCoy and the availability of equitable relief in Brown. In addition, the

        plaintiffs in each case are represented by different counsel. Under those

        circumstances, it is appropriate to consolidate the cases for purposes of

        argument but not briefing.



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              4. Adam Kraut, counsel for the plaintiffs in Brown, has indicated

        that the Brown plaintiffs do not oppose the relief requested in this

        motion but reserve their right to argue at a consolidated argument.

        Elliott Harding, counsel for the plaintiffs in McCoy, has indicated that

        the McCoy plaintiffs oppose the relief requested in this motion.



                                        Respectfully submitted,

                                        MARK B. STERN

                                         s/ Steven H. Hazel
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                             CERTIFICATE OF SERVICE

              I hereby certify that on December 13, 2023, I electronically filed

        the foregoing motion with the Clerk of the Court by using the appellate

        CM/ECF system. I certify that the participants in the case are

        registered CM/ECF users and that service will be accomplished by the

        appellate CM/ECF system.



                                                   s/ Steven H. Hazel
                                                  Steven H. Hazel




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                          CERTIFICATE OF COMPLIANCE

              I certify that this motion to consolidate, filed on December 13, 2023,

        complies with the type-volume limitation of Federal Rule of Appellate

        Procedure 27(d), because it contains 339 words according to the count of

        Microsoft Word and is printed in Century Schoolbook 14-point font.

                                              s/ Steven H. Hazel
                                             STEVEN H. HAZEL




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